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                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA



        HECTOR FIGUEROA                              :
                                                                   CIVIL ACTION
                                      Plaintiff,     :
                                                     :
                              vs.                    :
                                                         Case No. 2:23-cv-00515
                                                     :
        COUNTY OF DELAWARE
                                                     :

                                      Defendant.     :




                  BRIEF IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY
                                     JUDGMENT

        AND NOW comes Defendant, County of Delaware (hereinafter “Defendant”), by and through

     its attorneys, Michael Schleigh and Hardin Thompson, P.C., and submits the Brief in Support of

     Defendant’s Motion for Summary Judgment, and in support thereof, avers as follows:

I.      PROCEDURAL BACKGROUND

            This matter was initiated by way of Complaint on February 9, 2023. See Docket No. 1.

     Thereafter by agreement of the parties, Plaintiff filed an Amended Complaint on August 8, 2023.

     See Docket No. 10. Defendant filed an Answer to same on August 30, 2023. See Docket No. 11.

     Pursuant to the Court’s September 5, 2023 Scheduling Order (Docket No. 12), discovery closed in
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      this matter on December 29, 2023 and the present motion was required to be filed on January 30,

      2024.

              The present motion is timely filed and the matter is ripe for determination by means of

      summary judgment.

II.      FACTUAL BACKGROUND

              For the sake of brevity, Defendant incorporates the entirety of its Statement of Material

      Facts as if set forth here at length. Defendant provides the following highlights of some of the

      more pertinent facts relative to this matter.

              Plaintiff was originally hired by Defendant on a contract basis to serve as the Assistant

      Director of Labor Relations for its Human Resources/Personnel Department in March of 2022.

      Shortly thereafter he was extended an offer of permanent employment in the same position. He

      then voluntarily quit the position in May 2022. He was rehired in June 2022 and terminated while

      in a new probationary period in August 2022.

              Soon after he was rehired in June 2022, it came to light that he left many of his assignments

      from before he quit in relation to prison union negotiations undone, and when he resumed those

      functions he handled them poorly. Throughout July and August of 2022 he mishandled various

      personnel matters as well including: ignoring a Department Head’s two requests for assistance in

      disciplining a subordinate, mishandling the investigation of the very same subordinate’s claims of

      improper behavior by the same Department Head, failing to investigate a claim of pay inequity

      assigned to him by the Director of Diversity, Equity, and Inclusion, mishandling negotiations with

      a prison union that led to the filing of a Fair Labor Complaint, mishandling investigations made

      against correction officer personnel that opened the County to a claim of constructive discharge,

      and mishandling a claim of sexual harassment by a member of the IT Department. These
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 culminations and overall poor performance to timely conduct and handle the matters assigned to

 him led to Plaintiff being fired during his probationary period. While it is admitted that Plaintiff

 worked on investigating a matter involving possible gender discrimination, it was not the reporting

 of same that played any part of his termination, but rather is overall mishandling of the events that

 were related to the matter in addition to the issues described above.

III. ARGUMENT

    A. Standard of Review

        “Summary judgment procedure is... an integral part of the Federal Rules as a whole, [and

 is] designed to secure the just, speedy and inexpensive determination of every action.” Celotex

 Corp. v. Catrett, 477 U.S. 317, 327 (1986). Summary judgment is appropriate where the moving

 party shows that “there is no genuine issue as to any material fact and that [he/she] is entitled to a

 judgment as a matter of law.” Fed. R. Civ. P. 56(c); Celotex at 322.

        To successfully oppose a motion for summary judgment, Plaintiff cannot rely on the

 unsupported allegations of the Complaint and he must present more than the “mere existence of a

 scintilla of evidence” in their favor. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986).

 Plaintiff must offer specific material facts that would be admissible at trial and that contradict

 Defendants' assertion that no genuine issue is in dispute. Kline v. First West Government

 Securities, 24 F.3d 480, 485 (3d Cir. 1994); Fed. R. Civ. P. 56(e).

        Not all facts are material and not all disputes are genuine. A fact is “material” only if its

 existence or nonexistence would affect the outcome of the case under the applicable substantive

 law. Anderson at 248; see also Celotex at 323 (“a complete failure of proof concerning an essential

 element of the nonmoving party's case necessarily renders all other facts immaterial”). A dispute

 is “genuine” only where a reasonable jury “could return a verdict in favor of the non-moving
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party.” Anderson at 255; Matsushita Electric Industrial Company, Ltd. v. Zenith Radio

Corporation, 475 U.S. 574, 587 (1986) (“[w]here the record taken as a whole could not lead a

rational trier of fact to find for the non-moving party, there is no genuine issue for trial”).

Instantly, under this standard, Defendant's Motion for Summary Judgment is appropriately granted

because there is no genuine issue of material fact, and Defendant is entitled to judgment as a matter

of law.


          B. Summary Judgment Should be Granted in Favor of the Defendant on Plaintiff’s
             Whistleblower Claim.

          The Whistleblower Law provides protection for employees of a public employer who

report a violation or suspected violation of state law.” Bailets v. Pennsylvania Tpk. Comm'n, 633

Pa. 1, 123 A.3d 300, 307 (2015). See O'Rourke v. Commonwealth, 566 Pa. 161, 778 A.2d 1194,

1202 (2001) (describing the Law as “chiefly a remedial measure intended to ‘enhance openness in

government and compel the government's compliance with the law by protecting those who inform

authorities of wrongdoing.’ ”). Under the Law, a “whistleblower” is someone who “witnesses or

has evidence of wrongdoing or waste while employed and who makes a good faith report of the

wrongdoing or waste, verbally or in writing, to one of the person's superiors, to an agent of the

employer or to an appropriate authority.” 43 P.S. § 1422. The protective measure for employees

who report wrongdoing is found in Section 3(a), which provides the following:

   (a) Persons not to be discharged.--No employer may discharge, threaten or otherwise
       discriminate or retaliate against an employee regarding the employee's compensation,
       terms, conditions, location or privileges of employment because the employee or a person
       acting on behalf of the employee makes a good faith report or is about to report, verbally
       or in writing, to the employer or appropriate authority an instance of wrongdoing or waste
       by a public body or an instance of waste by any other employer as defined in this act.

43 P.S. § 1423(a).
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       The Whistleblower Law, 43 P.S. § § 1421-1428, provides that no employer may discharge,

threaten, or otherwise discriminate or retaliate against an employee regarding the employee's

compensation, terms, conditions, location, or privileges of employment because the employee ...

makes a good faith report ... to the employer or appropriate authority an instance of wrongdoing

or waste. 43 P.S. § 1423(a). To make out a prima facie case of retaliatory termination pursuant to

the Whistleblower Law, a plaintiff must “show by concrete facts or surrounding circumstances

that the report [of wrongdoing or waste] led to [the plaintiff's] dismissal, such as that there was

specific direction or information received not to file the report or [that] there would be adverse

consequences because the report was filed.” Golaschevsky v. Com., Dept. of Envtl. Protec., 720

A.2d 757, 759 (Pa. 1998).

       The Whistleblower Law, however, “is not designed to provide insurance against discharge

or discipline for an employee who informs on every peccadillo of his fellow employees.” Evans v.

Thomas Jefferson Univ., 81 A.3d 1062, 1070 (Pa. Cmwlth. 2013) (quoting Golaschevsky v. Dep't

of Envtl. Res., 683 A.2d 1299, 1304 (Pa. Cmwlth. 1996), aff'd, 554 Pa. 157, 720 A.2d 757, 759

(1998)).   Instead, the Whistleblower Law requires a causal connection, which must be

demonstrated “by concrete facts or surrounding circumstances that the report of wrongdoing led

to the plaintiff's dismissal, such as that there was specific direction or information received not to

file the report or that there would be adverse consequences because the report was filed.”

Golaschevsky v. Dep't of Envtl. Prot., 720 A.2d 757, 759-60 (Pa. 1998).

            i.      Casual Connection

   In the case of alleged retaliatory termination, the employee must show a causal connection

between the report of wrongdoing and the termination. Bailets, 123 A.3d at 306. The causation

requirement was first articulated in Gray v. Hafer, 168 Pa.Cmwlth. 613, 651 A.2d 221 (1994),
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aff'd per curiam, 542 Pa. 607, 669 A.2d 335 (1995). The plaintiff therein was employed by the

Department of the Auditor General from May 1991 to September 1993, during which time he was

assigned to the Office of Special Investigations. In his position with the Office of Special

Investigations, the plaintiff investigated a variety of fraudulent activity, including the misuse of

public funds by Commonwealth agencies or illegal acts involving institutions that receive state

funds. Id. at 223. In the course of his duties, the plaintiff filed a report with the Auditor General

detailing instances of waste and wrongdoing by the Center for Research and Human Development

in Education (“Center”), which was located within Temple University. Id. The Auditor General

took no action based on this report. Four months later, a Temple University representative

contacted the Auditor General and requested access to the report about the Center. Within weeks

of this request, the Auditor General confronted the plaintiff with a resignation letter and asked him

to resign or face termination.

       Based on these facts, the plaintiff brought a claim in the Commonwealth Court's original

jurisdiction under the Whistleblower Law. Id. As the court characterized it, the sum of the

plaintiff's allegations were that “based on the timing of the request for a copy of the report and his

termination, the Auditor General was guilty of violating the Whistleblower Law.” Id. at 225. The

Commonwealth Court explained that it could not accept these “minimal” allegations as sufficient

to establish an allegation of wrongdoing by the Auditor General; otherwise, every public employee

who performs investigatory functions and files a report upon which his department head does not

act would automatically establish a prima facie Whistleblower Law claim if terminated. Id. Rather,

the Commonwealth Court explained, at the pleading stage, such an employee must allege a

connection between the report of waste or wrongdoing and the termination:

       To make out a cause of action under the Whistleblower Law by one who, as part of
       his or her regular job duties, files reports of waste or wrongdoing based on
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       wrongdoing outside the governmental entity that he is charged with seeking out, that
       person must make more than a general statement that a report was filed and, within
       a given amount of time, the employee was fired as a result. An employee who has
       been terminated based on a filed report and wants to base his or her complaint on
       their employer's violation under the Whistleblower Law must specify how their
       employer is guilty of waste and/or wrongdoing. They must also show by concrete
       facts or surrounding circumstances that the report led to their dismissal, such
       as that there was specific direction or information they received not to file the
       report or there would be adverse consequences because the report was filed.

Id. (emphasis added).

       Four years later, the Supreme Court adopted this standard in the case of Golaschevsky v.

Dep't of Envtl. Prot., 554 Pa. 157, 720 A.2d 757, 759–60 (1998). Golaschevsky involved an

employee hired by the Department of Environmental Resources (“DER”) as a computer systems

analyst. Id. The employee was hired on September 7, 1993. On December 20, 1993, approximately

three months into this position, the employee informed his supervisor that he believed that other

employees in his division were using computer software in a manner that violated federal copyright

laws. Id. The supervisor encouraged the employee to report his suspicions. Id. at 757-58. A few

weeks later, the employee received his first performance review, which detailed several areas of

deficient performance, and he was given a list of projects to complete in a designated timeframe.

Id. After that period lapsed, the employee was subject to another evaluation, at which time his

performance was rated again as unsatisfactory. Id. Ten days later, on April 25, 1994, DER

terminated the employee. Id.

       The employee later filed a whistleblower claim, alleging that he was terminated in

retaliation for his report of suspected copyright law violations by co-workers. Id. The employee

testified that prior to alerting his supervisor of the suspected copyright violations, he had never

been told that his work was unsatisfactory and that the report instigated not only his first negative
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performance reviews, but also obstructive behavior by colleagues and supervisors that impeded

his ability to complete his work and ultimately, his termination. Id. at 759-60.

       Following the close of discovery, DER sought summary judgment, arguing that the

employee failed to establish a prima facie cause of action. Id. The Commonwealth Court granted

the motion and the employee appealed arguing that the Commonwealth Court's conclusion that he

failed to establish a causal connection to support a Whistleblower Law claim was in error. Id. at

758. Quoting directly from Gray, this Court stated that to establish the causal connection for a

claim of retaliatory termination under the Whistleblower Law, an employee must show by concrete

facts or surrounding circumstances that the report of wrongdoing ... “led to the dismissal, such as

that there was specific direction or information received not to file the report or that there would

be adverse consequences because the report was filed.” Id. at 759 (internal quotations omitted)

(emphasis added) (quoting Gray, 651 A.2d at 225).

       Based on this standard, the Court rejected the employee's evidence of a causal connection

between the report and his termination:

       He does not allege that his supervisors threatened to fire him or to impose any other
       adverse consequences because of his report, nor does he establish any other
       “concrete facts” to connect the report with the dismissal. Instead, [a]ppellant relies
       solely on vague and inconclusive circumstantial evidence.

Id. Thus, in Golaschevsky, the Court held that a plaintiff's prima facie case for causation may be

established by use of either “concrete facts or surrounding circumstances” but not by the

employee's conclusory perception of how others treated him after making a report of alleged

wrongdoing. Id. at 759-60. Golaschevsky stands for the proposition that a plaintiff cannot rely on

self-serving conclusions of an antagonistic post-report workplace and subsequent discharge to

establish a prima facie case of causation.
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       To establish the requisite causal connection established by Golaschevsky, an employee

must “show by concrete facts or surrounding circumstances that the report [of wrongdoing or

waste] led to [his] dismissal, such as that there was specific direction or information received not

to file the report or [that] there would be adverse consequences because the report was filed.” If

an employee cannot point to direct evidence or concrete facts to connect his reports with his

dismissal, he cannot rely solely upon vague and inconclusive circumstantial evidence to do so. Id.

at 759. Although circumstantial evidence may be used to prove a violation of the Law, it is not

enough that the employee simply made a good faith report prior to his discharge but, rather, must

prove a nexus between the two. Golaschevsky, 554 Pa. at 165-66, 720 A.2d at 761 (Nigro, J.,

concurring); Lutz v. Springettsbury Twp., 667 A.2d 251, 254 (Pa. Commw. Ct. 1995). See, also

Evans v. Thomas Jefferson Univ., 81 A.3d 1062, 1070 (Pa. Commw. Ct. 2013) (mere fact of

discharge “a few months after” report of wrongdoing and that “first formal negative actions” of

employer were after report not enough to show causal connection).

       The Plaintiff has failed to produce facts essential to prove a causal connection between his

reports of wrongdoing and his alleged retaliation. He does not allege that his supervisors

threatened to fire him or to impose any other adverse consequences because of his report, nor does

he establish any other “concrete facts” to connect the report with the dismissal. Instead, in

attempting to show a causal connection, Appellant relies solely on vague and inconclusive

statements.   Time alone cannot establish a causal connection between Appellant's alleged

whistleblowing and his termination. The Plaintiff, therefore cannot establish a prima facie case of

retaliatory discharge pursuant to the Whistleblower.


       Plaintiff cannot establish that he was fired in relation to the report that Lisa Jackson was

suspected in engaging in gender discrimination against her employee, Fitzgerald on the existing
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records. As shown by the testimony of the various executive staff overseeing the Human

Relations/Personnel Department (Lazarus and Woolley), when it came to their attention that (1)

the investigation of Jackson was incomplete, (2) it was incomplete apparently because Plaintiff

did not conduct a thorough investigation before findings were suggested by his department, and

(3) Plaintiff had a record of incomplete and/or late completion of assignments and sloppy work

product, the decision was then made to fire him. In short, when the performance of Johnson and

Plaintiff was evaluated by Lazarus and Woolley, they decided with input from such persons as

Warden Williams and Director of Diversity, Inclusion and Equity Footman that Plaintiff was the

weak link in the chain of command in the Human Relations/Personnel Department and he was

terminated. As it appeared that Johnson often had to cover for Plaintiff, and Plaintiff’s failures to

perform were drawing Johnson away from other duties that he was expected to perform, Johnson

was demoted and Woolley became more involved in that Department. The fact that Woolley

expected Johnson to finish the investigation of Jackson and provide a thorough report so that he

might take further action with respect to Jackson supports this lack of causation. It would appear

that the focus on this waned after Fitzgerald voluntarily quit, and the investigation was never

completed. This does not mean that there was a causal link as needed to establish liability under

this statute, and this claim should be dismissed. Plaintiff’s perceptions of why he was fired cannot

control the disposition of this matter.

       C. Even Assuming Arguendo That Plaintiff Could Prove A Prima Facie Case, the
          Defendant Has a Legitimate and Non-Pretextual Reason for Plaintiff’s
          Employment Termination


       An employer has a defense to the action where it is shown, by a preponderance of the

evidence, the action against the employee occurred for separate and legitimate reasons that are not

merely pretextual. 43 P.S. § 1424(c). Thus, upon showing a prima facie case of retaliation, the
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burden shifts to the employer to articulate a legitimate, nondiscriminatory reason for its action,

and finally, the burden shifts back to the complainant to show that the employer's proffered reasons

are pretextual. Uber v. Slippery Rock Univ. of Pa., 887 A.2d 362 (Pa. Commw. Ct. 2005).

       Here, the Plaintiff’s termination was the result of his unsatisfactory work performance, and

had nothing to do with his report of alleged harassment.

       Plaintiff was a probationary employee at the time of his rehire. The evidentiary record

shows that Appellant was given numerous opportunities during his probationary period to

complete his work, of which he failed to take advantage. Appellant's probationary employment

status is important. A probationary period is a working test period for a new employee. It is the

Department's recommended management practice for supervisors to provide critical feedback and

formal evaluation during an employee's entire probationary period, not to wait until the

employee's probationary period expires. Under this management practice, formal interim

evaluation of a probationary employee is encouraged, especially to provide a marginally-

performing employee an opportunity to modify his or her performance and, optimally, to foster an

outstanding employee. The evidentiary record and Appellant's own testimony are replete with

examples of instances where the Department attempted to provide Appellant with constructive

feedback, including one such formal interim evaluation Appellant did not accept the feedback,

electing to reject the advice of his colleagues and supervisors and instead accuse them of trying

to undermine him.

       Moreover, much like the government employee in Golaschevsky, 554 Pa. at 164, 720 A.2d

at 760 (1998), the Plaintiff’s was the result of his unsatisfactory work performance, and had

nothing to do with his report of alleged discrimination law violations. Indeed, rather than punishing

him for making a report of alleged wrongdoing, Plaintiff’s supervisors encouraged him to follow
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up on the matter and produce a Thorough and full written report, though he apparently never did

so. Under such circumstance, the causal nexus simply does not exist.


       D. Plaintiff's termination was not retaliation for engaging in protected activity, and
          as such, summary judgment should be granted in favor of Defendant on this claim
       Title VII prohibits retaliation by making it unlawful for employers to discriminate against

“any individual ... because he has opposed any ... unlawful employment practice” or because that

individual has “made a charge, testified, assisted, or participated in any manner in an investigation,

proceeding, or hearing.” 42 U.S.C. § 2000e–3(a). In the context of the employee's proof of a prima

facie case of retaliation, “protected activity” includes informal protests of discrimination or

harassment such as complaints to management. See Circle Bolt & Nut Company, 954 A.2d at 1269

n.12; Bailey v. Storlazzi, 729 A.2d 1206, 1214 n.9 (Pa. Super. 1999). “[Title VII's] retaliation

provision protects an individual not from all retaliation, but from retaliation that produces an injury

or harm.” Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 67, 126 S.Ct. 2405, 165 L.Ed.2d

345 (2006).

       Absent sufficient direct evidence of retaliatory animus, an employee alleging retaliatory

discharge liability under 42 U.S.C. §2000e-3(a) must demonstrate a prima facie case of retaliation

by showing that: (1) the employee engaged in protected activity; (2) the employee was discharged

subsequent to or contemporaneously with such activity; and (3) there is a causal link between the

protected activity and the discharge. Woodson v. Scott Paper Company, 109 F.3d 913, 920 (3d Cir.

1997), cert. denied, 522 U.S. 914 (1997); Quiroga v. Hasbro Inc., 934 F.2d 497, 501 (3d Cir.

1991). “To establish causation at the prima facie stage, a plaintiff must introduce evidence about

the ‘scope and nature of conduct and circumstances that could support the inference’ of a causal

connection.” Young, 651 Fed.Appx. at 95 (quoting Farrell v. Planter's Lifesavers Co., 206 F.3d

271, 279 (3d Cir. 2000)).
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       Title VII's anti-retaliation provision protects individuals who engage in activity described

by either its opposition clause or its participation clause. This includes individuals who “opposed

any ... unlawful employment practice” or “made a charge, testified, assisted, or participated in any

manner in an investigation, proceeding, or hearing.” 42 U.S.C. § 2000e–3(a) (emphasis added).

       While Plaintiff no doubt participated in an investigation of a gender discrimination

complaint, this is not the casual connection to his termination for the reasons already stated above.

It was ultimately, Plaintiff’s mishandling of various human relations, personnel and labor union

matters that were all occurring in the two months prior to his termination that culminated in same.

       E. Even Assuming Arguendo That Plaintiff Could Prove A Prima Facie Case, the
          Defendant Has a Legitimate and Non-Pretextual Reason for Plaintiff’s
          Employment Termination
       Even if Plaintiff could establish a prima facie case of retaliation under Title VII, Defendant

satisfies its burden of articulating non-discriminatory reasons for Plaintiff's adverse actions.

Defendant asserts Plaintiff simply was not good at his job. Indeed, he was so bad at managing his

duties that Unfair Labor Complaints were made about matters he mishandled, near missteps based

on faulty advice almost caused the county to keep troublesome probationary employees who

sexually harassed their coworkers, matters were neglected such that possible constructive

discharge claims could have materialized, and matters were not diligently pursued.

       Title VII only prohibits the imposition of adverse actions in response to protected activity.

See Moore, 461 F.3d at 342 (“[I]f the reason for [the adverse action] is one that is not proscribed

by Title VII, it follows that Title VII provides no relief.”). Furthermore, Defendant has

articulated—and provided evidence of record to demonstrate—other legitimate reasons for

Plaintiff's discharge, to wit, his overall poor job performance as documented extensively in the

Statement of Material Facts. Thus “[P]laintiff's [adverse action] would have occurred regardless
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of any alleged retaliatory motive.” Costa, 2014 WL 1235879 at *13, 2014 U.S. Dist. LEXIS 38952

at *39.


          WHEREFORE, Defendant Delaware County respectfully requests that judgment be

entered in its favor and against Plaintiff, together with all costs of and attorneys’ fees permitted by

law.

                                               Respectfully Submitted,

                                               HARDIN THOMPSON, PC




                                               _______________________________
                                       BY:     Michael F. Schleigh, Esquire
                                               Counsel for Defendant, County of Delaware


   DATED:
